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                  UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN
                           MINUTES

    Case Number                Date                 Time              Judge

 1:21-cr-00040-RJJ-1          3/31/2021       2:58 - 3:29 PM     Phillip J. Green

                               CASE CAPTION

                               USA v. Boden et al

                               APPEARANCES
    Attorney:                                    Representing:
Justin Matthew Presant                    Government

Brian Patrick Lennon                      Defendant Christopher Allan Boden

Matthew George Borgula                    Defendant Leesa Beth Vogt

Brett A. Purtzer via Video                Defendant Daniel Reynold Dejager

                               PROCEEDINGS

NATURE OF HEARING:

Motion Hearing held regarding ECF No. 22; Counsel to file amended proposed
protective order.




                         Proceedings Digitally Recorded
                           Deputy Clerk: A. Doezema
